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                         Exhibit A
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Department of State

Termination Notification


NOTICE OF TERMINATION

February 26, 2025

United States Conference of Catholic Bishops
3211 Fourth St NE
Washington, DC 20017-1104

REF: SPRMCO24CA0342; FY24 MRA Reception and Placement

Dear Anthony Granado:

The U.S. Department of State hereby notifies the recipient that this award is
immediately terminated as of February 27, 2025. This award no longer effectuates
agency priorities and is terminated in accordance with the U.S. Department of State
Standard Terms and Conditions, 2 CFR 200.340, and/or Award Provisions as
applicable.

Effective immediately upon receipt of this Notice of Termination, the Recipient must
stop all work on the program and not incur any new costs after the effective date cited
above. Payment requests for legitimate costs incurred prior to this notification are
allowable. If your award is already in suspended status, payment requests for legitimate
costs incurred prior to the effective date of the Notice of Suspension are allowable. The
Recipient must cancel as many outstanding obligations as possible.

Final reports will be due in accordance with the Award Provisions.


                                                    Sincerely,
                                                                       JOSEPH Digitally signed
                                                                              by JOSEPH G
                                                    Joseph Kouba       G      KOUBA
                                                                              Date: 2025.02.26
                                                    Comptroller        KOUBA 20:22:16 -05'00'
